                            UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WISCONSIN
                                          OFFICE OF THE CLERK

                                            362 U.S. COURTHOUSE
                                            517 E. WISCONSIN AVE
                                            MILWAUKEE, WI 53202

STEPHEN C. DRIES                                                                            TEL: 414-297-3372
     CLERK                                                                                  FAX: 414-297-3253
                                                                                           www.wied.uscourts.gov



                                             October 29, 2018



    Brenda L. Lewison
    Law Office of Arthur Heitzer
    633 W Wisconsin Ave - Ste 1410
    Milwaukee, WI 53203-1920

           Re:     Mollet v. City of Greenfield
                   Case No. 16-cv-1145

    Dear Ms. Lewison:

           Today, I received the defendant's proposed Bill of Costs in the above case. In order to
    dispose of this matter without a hearing, I am asking plaintiff to advise me in writing on or
    before 11/12/2018 whether there are objections to any of the costs.

            If there are no objections to the proposed costs, plaintiff should promptly notify the court
    in writing, with a copy to opposing counsel.

           If plaintiff does file an objection, it should be accompanied by a brief memorandum.
    Defendant will have until 11/19/2018 to file a response and any reply by plaintiff should be filed
    on or before 11/26/2018. The matter will then be decided on the written memoranda. Thank you
    for your cooperation.

                                                          Very truly yours,

                                                          STEPHEN C. DRIES
                                                          Clerk of Court

                                                  By:     J.Lyday
                                                          Deputy Clerk




              Case 2:16-cv-01145-LA Filed 10/29/18 Page 1 of 1 Document 51
